






THIS OPINION
  HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        Marion H. Wolf, Respondent,
      
    
  

v.

  
    
      
        Robert L. Wolf, Appellant.
      
    
  


Appeal From Calhoun County
&nbsp;William J. Wylie, Jr., Family Court Judge

Unpublished Opinion No. 2008-UP-245
Heard March 7, 2008  Filed April 25, 2008&nbsp;&nbsp;&nbsp; 

AFFIRMED


  
    
      
        Stephen R. Fitzer, of Columbia, for Appellant.
        John G. Felder and Thomas Derrick Felder, both of St. Matthews,
          for Respondent.
      
    
  

PER CURIAM:&nbsp; The
  family court granted Marion H. Wolf (Wife) and Robert L. Wolf (Husband) a
  divorce on the ground of one years separation and divided the parties
  property.&nbsp; Husband appeals, asserting the family court erred in awarding the
  marital home to Wife, in finding he was in possession of some of Wifes
  jewelry, in awarding Wife an additional $50,000 from an investment account, and
  by admitting evidence of Husbands conviction for tax evasion.&nbsp; We affirm.
FACTS
Wife married Husband, a physician, in New York City on November
  21, 1985.&nbsp; Wife was then 42, Husband was 57.&nbsp; It was the second marriage for
  both parties and no children were born of the marriage.&nbsp; At the urging of
  Husband, the parties executed a prenuptial agreement on September 13, 1985.&nbsp;
  The primary relevance of the prenuptial agreement to this litigation was the
  parties intent to treat as separate, nonmarital property all property titled in
  their respective individual names.&nbsp; This contractual arrangement stemmed from
  Husbands prior difficulties with the Internal Revenue Service.
Husband and Wife originally lived in New York City, where Husband
  maintained his medical practice, and in a home in Danbury, Connecticut (the
  Connecticut Property).&nbsp; Husband acquired the Connecticut Property before the
  parties marriage, but Husband transferred title to his son to keep it out of
  his name for tax and other purposes.&nbsp; The son deeded the Connecticut Property
  to Wife in 1987 for $1.00.&nbsp; &nbsp;&nbsp;
The couple moved to South Carolina in 1994 and acquired a horse
  farm (the Farm) known as Brigadoon in St. Matthews.&nbsp; The Farm was purchased
  in Wifes name only for the stated price of $240,000.&nbsp; The parties separated in
  October 2002.&nbsp; 
By
  order filed April 10, 2006, the family court granted the parties a divorce on
  the ground of one years separation.&nbsp; At trial, only Wife challenged the
  validity of the prenuptial agreement.&nbsp; The court found the prenuptial agreement
  is valid under New York and South Carolina law.&nbsp; The court granted Wife the
  Farm (including livestock), finding it was her separate property under the
  terms of the prenuptial agreement, as well as certain personal property.&nbsp;
  Husband was also awarded personal property.&nbsp; Husband was ordered to return
  certain jewelry to Wife.&nbsp; To ensure Husbands return of the jewelry, Wife was
  authorized to withhold $50,000 from Husbands share of an investment account
  with Brown &amp; Company Securities Corporation (the Brown account).&nbsp; The
  account had a balance of just over one million dollars.&nbsp; Husband and Wife were
  ordered to equally divide the balance of the Brown account after an initial
  $50,000 distribution was made to Wife. &nbsp;Wifes claim for alimony was
  denied, and each party was ordered to pay his or her own attorneys fees.&nbsp;
  Husband appeals.[1]
LAW/ANALYSIS
I.&nbsp; The Farm&nbsp;
  [Husbands Issues I, II, IV &amp; VI]
Husband
  argues the family court erred in awarding the Farm to Wife.&nbsp; Specifically,
  Husband asserts the family court erred in awarding the Farm to Wife based on
  its finding Wife purchased the Farm in her name with proceeds from the sale the
  Connecticut Property, which had been gifted to her.&nbsp; Husband states Wife had no
  tangible assets in her name when they married and the court erred by not
  considering an equitable division of the Farm and livestock because marital
  property, regardless of how title is held, is subject to equitable division.&nbsp;
  Husband also asserts the family court erred as a matter of law in failing to
  find the marital estate was to be divided in accordance with the prenuptial
  agreement.&nbsp; 
Husband
  argues in the alternative that the family court erred in failing to find the
  Farm was transmuted into marital property because it was utilized by the parties
  in support of the marriage.&nbsp; Husband states his income was used to maintain
  Wife and that Wife never exercised any independence to demonstrate that she
  intended the marital residence to be non-marital property.&nbsp; 
Husbands
  arguments are foreclosed by the prenuptial agreement, which he did not
  challenge at trial. 
Article
  II of the parties prenuptial agreement, entitled Separate and Marital
  Property, provides in section three as follows:

  3.&nbsp; Each of the parties agrees that the property
    described hereafter shall remain the separate property of the other party:
  (a) all property, whether real or personal, belonging
    to or owned by the other party at the time of their marriage, including assets
    acquired by each of them in their separate names while living together outside
    the marital relationship;
  (b)&nbsp; all property acquired by the other party out of
    the proceeds or income from property owned at the time of the marriage, or
    attributable to appreciation in value of said property, whether the enhancement
    is due to market or economic conditions or to the contributions, services,
    skill or efforts of either of the parties to this agreement;
  (c)&nbsp; all property hereafter acquired by the other
    party by gift, devise, bequest or inheritance.&nbsp; [Emphasis added.]&nbsp; 

 In
  awarding the Farm to Wife, the family court reasoned the Connecticut Property
  was a gift to her and that the proceeds from the sale of the Connecticut
  Property were used to purchase the Farm in her name only; therefore, the Farm
  remained Wifes sole property in accordance with the terms of the prenuptial
  agreement.&nbsp; &nbsp;&nbsp;
We
  believe the prenuptial agreement controls the disposition of the Farm.&nbsp;
  However, our analysis of the agreement focuses on a different provision than
  the one relied upon by the family court.&nbsp; See Rule 220(c), SCACR
  (allowing an appellate court to affirm on any ground appearing in the record).&nbsp;
  Article II, section four of the agreement specifically provides as follows:

  4.&nbsp; With respect to any marital property
    that may be acquired or accumulated during the marriage, the parties do hereby
    mutually waive, release and forego any and all rights and claims of every kind,
    nature and description, in and to the property or assets real or personal, of
      or in the name of the other, regardless of its nature, or wheresoever
    situated, and each party shall during his or her lifetime keep and retain sole
    ownership, control and enjoyment of all such property, real or personal, now
    owned or hereafter acquired by him or her, free and clear of any claim by the
    other.&nbsp; This provision is intended to and shall serve as a complete and
    absolute waiver and release by each party to the other of any and all claims
    they may now or hereafter have with respect to the property, real and personal,
    now or hereafter owned by the other.&nbsp; [Emphasis added.]&nbsp; 

This
  section provides that property acquired or accumulated by either party after
  the marriage will remain that partys separate property.&nbsp; Furthermore, the
  parties waive any right to property of or in the name of the other.&nbsp; Although
  the reasons for Wife having title to the Farm may be disputed, there is no
  question that it is titled solely in her name.&nbsp; Consequently, the application
  of this provision results in Husband waiving any claim to the property and Wife
  retaining it as her own.
This is
  an unusual provision as it premises the award of property acquired after the
  marriage on title as opposed to any contribution to its acquisition, whether
  financial or otherwise.&nbsp; However, our courts have supported the right of the
  parties to define their property rights by contractual agreement:&nbsp; [P]arties
  are free to contractually alter the obligations which would otherwise attach to
  marriage.&nbsp; Hardee v. Hardee, 355 S.C. 382, 387, 585 S.E.2d 501, 503
  (2003).&nbsp; 
In Hardee, our supreme court cited with approval the
  following test adopted by this court to be used when determining whether a
  prenuptial agreement should be enforced:&nbsp; (1) Was the agreement obtained
  through fraud, duress, or mistake, or through misrepresentation or
  nondisclosure of material facts?&nbsp; (2) Is the agreement unconscionable?&nbsp; (3)
  Have the facts and circumstances changed since the agreement was executed, so
  as to make its enforcement unfair and unreasonable?&nbsp; Id. at 389, 585
  S.E.2d at 504.&nbsp; 
In the
  current appeal, the question of enforceability is not before us.&nbsp; Wife
  questioned the enforceability of the agreement in the family court, but she
  does not appeal the family courts finding that the prenuptial agreement is
  valid.&nbsp; Husband has argued only that the family court misinterpreted the
  agreement or did not apply it, but he does not argue that the agreement is
  unenforceable.&nbsp; Consequently, the family courts finding that the agreement is
  valid is the law of the case.&nbsp; See, e.g., Dreher v. Dreher, 370
  S.C. 75, 634 S.E.2d 646 (2006) (stating a ruling that is unappealed becomes the
  law of the case and will not be considered further on appeal).
The
  prenuptial agreement was no doubt intended to protect Husband since he had the
  vast majority of assets coming into the marriage.&nbsp; Nevertheless, the parties
  were aware of the terms of the agreement and made the decision to title the
  Farm solely in Wifes name.&nbsp; The award of the Farm to Wife as her separate,
  nonmarital property may not appear equitable, but it is the result called for
  under the prenuptial agreement orchestrated by Husband.&nbsp; As noted, the validity
  of the prenuptial agreement is the law of the case.&nbsp; Thus, in light of the
  plain language of the agreement, we affirm the family courts ruling that the
  Farm is the property of Wife.[2]&nbsp; 
II.&nbsp; Jewelry&nbsp;
  [Husbands Issue III]
Husband
  next contends the family court abused its discretion in finding he was in
  possession of some of Wifes jewelry.&nbsp; 
There
  is evidence in the record, as outlined by the family court, that Husband had
  access to a locked cabinet where some of Wifes jewelry was kept along with her
  United States and British passports.&nbsp; When Wife checked the cabinet to
  retrieve her items, everything was missing.&nbsp; Wifes U.S. passport later turned up
  in Husbands possession, and he returned it to Wifes attorney so she could
  attend her fathers funeral.&nbsp; Husband denied that he had removed Wifes
  jewelry.&nbsp; The family court found, however, that Husband removed this jewelry
  from the cabinet since he had removed Wifes U.S. passport, which was kept in
  the cabinet with the jewelry.&nbsp; 
We hold the evidence supports the family courts finding.&nbsp;
  Although Husband correctly asserts there was no police report made of a theft,
  we do not think this fact is determinative.&nbsp; If Wife believed the jewelry was
  simply retained by Husband, as opposed to stolen by an unknown third party, she
  might have reasonably believed the issue could be resolved in the divorce
  proceedings.&nbsp; In this case, the family court judge saw and heard the witnesses
  and was in a better position to evaluate their demeanor and to assign weight to
  their credibility.&nbsp; See Strickland v. Strickland, 375 S.C. 76,
  82, 650 S.E.2d 465, 469 (2007) ([A]ppellate courts should be mindful that the
  family court, who saw and heard the witnesses, sits in a better position to
  evaluate credibility and assign comparative weight to the testimony.).&nbsp; We
  find no error in the family courts determination in this regard.
III.&nbsp; The
  Brown Account&nbsp; [Husbands Issue V]
Husband
  contends the family court erred in awarding Wife a $50,000 distribution from
  the Brown account.&nbsp; 
In the motion to alter or amend that Husband submitted to the
  family court, he challenged the $50,000 distribution on the following basis:

  8.&nbsp; Defendant moves [the family court] to reconsider its finding
    that the defendant should be charged with the $50,000 disbursement from the
    Brown account, since this disbursement was authorized by the court as a
    necessary and proper expenditure for defendants needs pendente lite.&nbsp; 

On
  appeal, however, Husband asserts we should reverse the $50,000 award because it
  was not provided for in the courts memorandum of instructions for preparing
  the order.&nbsp; As Husband argues for the first time on appeal, the $50,000 award was
  gratuitously placed in the order by Wifes counsel, who drafted the order.&nbsp;
  Although we cannot find this provision in the family courts instructions, we
  conclude this issue is not properly before us for review.&nbsp; Husband did not make
  the argument in the trial court that he now urges on appeal, and a party cannot
  assert error based on one ground at trial and a different ground on appeal.&nbsp; See,
    e.g., McKissick v. J.F. Cleckley
      &amp; Co., 325 S.C. 327, 344, 479
  S.E.2d 67, 75&nbsp;(Ct. App. 1996) (stating the same ground for an objection
  must be argued to the trial court and on appeal to preserve an alleged error
  for review, and a challenge on a specific ground may not be raised for the
  first time on appeal).
IV.&nbsp; Evidence
  of Prior Conviction&nbsp; [Husbands Issue VII]
Husband
  lastly contends the family court erred in allowing Wifes attorney to question
  him about his conviction for tax evasion.&nbsp; He asserts the evidence was
  inadmissible under Rule 609, SCRE because more than ten years had elapsed since
  the date of his conviction.&nbsp; 
Rule
  609(a)(2), SCRE provides that for the purpose of attacking the credibility of a
  witness, evidence that any witness has been convicted of a crime shall be
  admitted if it involved dishonesty or false statement, regardless of the punishment.&nbsp;
  Under Rule 609(b), SCRE, if a period of more than ten years has elapsed since
  the date of the conviction or of the release of the witness from confinement,
  whichever is later, evidence of the conviction may not be used unless the
  court determines, in the interests of justice, that the probative value of the
  conviction supported by specific facts and circumstances substantially
  outweighs its prejudicial effect.&nbsp; Rule 609(b) further requires that advance
  written notice of the intent to use such evidence be given to the other party.&nbsp; Id.
During
  Wifes direct examination, she testified that she did not know at the time she
  married Husband that he had a prior conviction for tax evasion.&nbsp; She stated she
  did not find out about it until years later.&nbsp; Husbands counsel objected,
  arguing they were going to try to introduce [evidence] about a conviction that
  is more than [ten] years old and [u]nder [Rule] 609, they cant do that.&nbsp;
  Wifes counsel stated the information was offered to show that Husband did not
  disclose the information to Wife.&nbsp; The family court overruled the objection
  without comment and no further argument was made by either party.&nbsp; &nbsp;&nbsp;
During Husbands direct testimony, Husband asserted that he had
  transferred some property out of his name due in part to income tax
  problems.&nbsp; On cross-examination, Wifes counsel asked him about the nature of
  the tax difficulties.&nbsp; Husbands counsel did not object to this line of
  questioning, and Husband answered, The difficulty was the assertion that I
  didnt pay all my taxes.&nbsp; The outcome was that I was convicted of that.&nbsp;
  Husband stated he paid a fine and served a sentence of three months in prison.&nbsp; &nbsp;&nbsp;
On
  appeal, Husband summarily contends evidence of his prior conviction was
  admitted in violation of Rule 609 because more than ten years had elapsed since
  the conviction.&nbsp; Convictions more than ten years old may be admitted after the
  court performs a balancing test.&nbsp; Here, the family court did not perform a
  balancing test.&nbsp; No argument was made at trial regarding the prejudicial nature
  of the conviction versus its probative effect.&nbsp; In addition, this passing
  reference was harmless as Husband has demonstrated no prejudice.&nbsp; First, the
  evidence was cumulative, as it came in without objection on another occasion
  via Husbands own testimony.&nbsp; Second, the family court noted in its memorandum
  for preparing the order that neither Wife nor Husband were credible witnesses
  and that Husbands testimony was often evasive and misleading.&nbsp; Thus, there
  were other inconsistencies in the testimony that caused the family court to
  have concerns about Husbands credibility that were unrelated to his tax
  problems.&nbsp; We have carefully reviewed the record, and we find ample support
  (beyond Husbands stale conviction for tax evasion) for the family courts
  finding that Husbands testimony lacked credibility.
Accordingly, we find Husband has not established reversible
  error.&nbsp; See, e.g., Jamison
    v. Ford Motor Co.,&nbsp;373 S.C. 248,
  261, 644 S.E.2d 755, 761&nbsp;(Ct. App. 2007) (To warrant reversal based on
  the admission or exclusion of evidence, the complaining party must prove both the
  error of the ruling and the resulting prejudice.).
CONCLUSION
Based
  on the foregoing, we conclude (1) the Farm is the property of Wife pursuant to
  the terms of the parties prenuptial agreement; (2) evidence in the record
  supports the family courts ruling that Husband retained possession of some of
  Wifes jewelry; (3) the issue concerning the $50,000 distribution from the
  Brown account is not preserved for our review; and (4) Husband has shown no
  reversible error in the admission of testimony concerning his prior conviction
  for tax evasion.&nbsp; 
AFFIRMED.
HUFF, KITTREDGE, and WILLIAMS, JJ., concur.


[1]&nbsp; Husbands appellate counsel did not represent Husband
  at trial.
[2]&nbsp; Because of our disposition of this issue, we
  need not address the other arguments Husband raises regarding the Farm.&nbsp; We
  note, however, that Husbands argument regarding transmutation is not preserved
  for appeal as it was raised for the first time, and then only summarily, in
  Husbands return to Wifes reply to his motion to alter or amend the judgment.&nbsp; 

